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         8                             UNITED STATES DISTRICT COURT
         9          CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
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        11   ZURICH AMERICAN INSURANCE                   Case No. 8:19-cv-01859-JLS (KESx)
             COMPANY,
        12                                               ORDER REGARDING
                          Plaintiff,                     CONFIDENTIALITY OF
        13                                               DISCOVERY MATERIAL AND
                   v.                                    INADVERTENT DISCLOSURE OF
        14                                               PRIVILEGED MATERIAL
             EAGLE SECURITY SERVICES, INC.
        15   and DOES 1 to 100, inclusive,
                                                         Magistrate: Hon. Karen E. Scott
        16                Defendants.                    Ctrm: 6D
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                                                         Complaint Filed: September 28, 2019
        19
                   Whereas, the court has reviewed the Stipulation of Plaintiff/Judgment
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             Creditor Zurich American Insurance Company (“Zurich”) and Lina Kamel, a
        21
             principal of Defendant/Judgment Debtor Eagle Security Services, Inc. (“Eagle
        22
             Security”) for Entry of an Order Regarding Confidentiality of Discovery Material
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             and Inadvertent Disclosure of Privileged Material, and finding just cause therefor,
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             enters the following order:
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                   1. Designation of Discovery Materials as Confidential. The following
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             documents produced in the course of discovery to enforce judgment, all Responses
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             to Requests for Production of Documents, and all testimony at any examination of
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   San
Francisco1   judgment debtor and exhibits thereto (the “Collection Action”) shall be subject to
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         2   this Order concerning confidential information, as set forth below:
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         3                (a) The designation of confidential information shall be made by
         4   placing or affixing on the document, in a manner which will not interfere with its
         5   legibility, the word “CONFIDENTIAL.” One who provides material may designate
         6   it as “CONFIDENTIAL” only when such person in good faith believes it contains
         7   sensitive personal information, trade secrets or other confidential research,
         8   development, financial, operational or commercial information which is in fact
         9   confidential. A party shall not routinely designate material as “CONFIDENTIAL,”
        10   or make such a designation without reasonable inquiry to determine whether it
        11   qualifies for such designation. Except for documents produced for inspection at the
        12   party’s facilities, the designation of confidential information shall be made prior to,
        13   or contemporaneously with, the production or disclosure of that information. In the
        14   event that documents are produced for inspection at the party’s facilities, such
        15   documents may be produced for inspection before being marked confidential. Once
        16   specific documents have been designated for copying, any documents containing
        17   confidential information will then be marked confidential after copying but before
        18   delivery to the party who inspected and designated the documents. There will be no
        19   waiver of confidentiality by the inspection of confidential documents before they are
        20   copied and marked confidential pursuant to this procedure.
        21                (b) Portions of the examination of a party’s present and former officers,
        22   directors, employees, agents, experts, and representatives shall be deemed
        23   confidential only if they are designated as such when the examination is taken or
        24   within seven business days after receipt of the transcript. Any testimony which
        25   describes a document which has been designated as “CONFIDENTIAL,” as
        26   described above, shall also be deemed to be designated as “CONFIDENTIAL.”
        27                (c) Information or documents designated as confidential under this
        28   Order shall not be used or disclosed by the parties or counsel for the parties or any
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   San
Francisco1   persons identified in subparagraph (d) below for any purposes whatsoever other than
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         2   preparing for and conducting the Collection Action in which the information or
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         3   documents were disclosed (including appeals).
         4                 (d) The parties and counsel for the parties shall not disclose or permit
         5   the disclosure of any documents or information designated as confidential under this
         6   Order to any other person or entity, except that disclosures may be made in the
         7   following circumstances:
         8                       (i) Disclosure may be made to counsel and employees of counsel
         9   for the parties who have direct functional responsibility for the Collection Action.
        10   Any such employee to whom counsel for the parties makes a disclosure shall be
        11   provided with a copy of, and become subject to, the provisions of this Order
        12   requiring that the documents and information be held in confidence.
        13                       (ii) Disclosure may be made only to employees of a party
        14   required in good faith to provide assistance in the conduct of the Collection Action
        15   in which the information was disclosed.
        16                       (iii) Disclosure may be made to court reporters engaged for
        17   examinations and those persons, if any, specifically engaged for the limited purpose
        18   of making photocopies of documents. Prior to disclosure to any such court reporter
        19   or person engaged in making photocopies of documents, such person must agree to
        20   be bound by the terms of this Order.
        21                       (iv) Disclosure may be made to consultants, investigators, or
        22   experts (hereinafter referred to collectively as “experts”) employed by the parties or
        23   counsel for the parties to assist in the Collection Action. Prior to disclosure to any
        24   expert, the expert must be informed of and agree in writing to be subject to the
        25   provisions of this Order requiring that the documents and information be held in
        26   confidence.
        27                 (e) Except as provided in subparagraph (d) above, counsel for the
        28   parties shall keep all documents designated as confidential which are received under
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   San
Francisco1   this Order secure within their exclusive possession and shall take reasonable efforts
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         2   to place such documents in a secure area.
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         3                (f) All copies, duplicates, extracts, summaries, or descriptions
         4   (hereinafter referred to collectively as “copies”) of documents or information
         5   designated as confidential under this Order or any portion thereof, shall be
         6   immediately affixed with the word “CONFIDENTIAL” if that word does not already
         7   appear.
         8         2. Confidential Information Filed with Court. To the extent that any materials
         9   subject to this Confidentiality Order (or any pleading, motion or memorandum
        10   disclosing them) proposed to be filed or are filed with the Court, those materials and
        11   papers must be redacted by the filing party in compliance with Fed. R. Civ. P. 5.2
        12   and Local Rules 5-4.3.2 and 5.2-1 before filing.
        13         3. Party Seeking Greater Protection Must Obtain Further Order. No
        14   information may be withheld from discovery on the ground that the material to be
        15   disclosed requires protection greater than that afforded by paragraph (1) of this Order
        16   unless the party claiming a need for greater protection moves for an order providing
        17   such special protection.
        18         4.   Challenging     Designation   of     Confidentiality.   A   designation   of
        19   confidentiality may be challenged upon motion before Magistrate Karen E. Scott,
        20   utilizing the magistrate’s procedures for Informal Telephonic Conference in
        21   Discovery Disputes (Section 3 of the procedures listed on Magistrate Scott’s website
        22   page on the United States District Court, Central District of California website. The
        23   burden of proving the confidentiality of designated information remains with the
        24   party asserting such confidentiality.
        25         5. Return of Confidential Material at Conclusion of Collection Action. At the
        26   conclusion of the Collection Action, all material treated as confidential under this
        27   Order and not received in evidence shall either be returned to the originating party,
        28   or the material may be destroyed instead of being returned.
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   San
Francisco1         6. Non-waiver of privilege for inadvertently disclosed materials.           The
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         2   inadvertent disclosure of any document that is subject to a legitimate claim that the
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         3   document is subject to the attorney-client privilege or the work-product protection
         4   shall not waive the protection or the privilege for either that document or for the
         5   subject matter of that document.
         6         7. Return of inadvertently disclosed materials. Except in the event that the
         7   requesting party disputes the claim, any documents the producing party deems to
         8   have been inadvertently disclosed and to be subject to the attorney-client privilege
         9   or the work-product protection shall be, upon written request, promptly returned to
        10   the producing party, or destroyed, at that party’s option. If the claim is disputed, a
        11   single copy of the materials may be retained by the requesting party for the exclusive
        12   purpose of seeking judicial determination of the matter.
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        14   IT IS SO ORDERED.
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        16
                   March 26, 2021
             Date: _______________

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        18                                    _________________________________________
                                              Magistrate Judge Karen E. Scott
        19                                    United States District Court for the Central District
        20                                    of California

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